       Case 3:15-cr-03150-BEN Document 54 Filed 11/04/20 PageID.103 Page 1 of 2
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                             UNITED STATES DISTRICT COURT
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                           SOUTHERN DISTRICT OF CALIFORNIA
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10    UNITED STATES OF AMERICA,                 Criminal Case No. 15cr3150-BEN
11
                                                ORDER
12          V.

13
      MARIA SOCORRO TOSCANO,
14
                   Defendant.
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16         IT IS ORDERED that the previous order committing Defendant to the custody of
17 the Attorney General, 18 U.S.C. § 316l(h)(l)(A), for hospitalization and treatment in a
18 suitable facility for a reasonable period of time, not to exceed four months, be extended,
19 nunc pro tune, from July 2, 2020 through November 2, 2020.
20         IT IS FURTHER ORDERED that Defendant continue to be committed to the
21 custody of the Attorney General for an additional reasonable period of time, not to exceed
22 fourth months from the date of this Order, as is necessary to complete the previously
23 ordered hospitalization and treatment, and pending evaluation so to determine whether
24 Defendant will attain the capacity to permit proceedings to go forward. The Attorney
25 General may move for an additional period of time as provided at 18 U.S.C. § 4241(d)(2).
26 If, at the end of the time period specified, it is determined that Defendant's mental condition
27 has not so improved as to permit proceedings to go forward, Defendant is subject to the
28 provisions of 18 U.S.C. §§ 4246 and 4248.
      Case 3:15-cr-03150-BEN Document 54 Filed 11/04/20 PageID.104 Page 2 of 2
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 1          IT IS FURTHER ORDERED that under the Speedy Trial Act, 18 U.S.C. §
 2 3161(h)(l)(A), time is excluded until Defendant is deemed competent by this Court.
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 7                                                nited States District Judge
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